Fill in this information to identify the case:

Debtor name          Ark Laboratory, LLC

United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN

Case number (if known)              23-43403-MLO
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.

2.1
       Comerica Commercial
       Lending Services                             Describe debtor's property that is subject to a lien              $6,536,566.07                 Unknown
       Creditor's Name                              bank loan, likely fully secured, all personal
       PO BOX 641618
                                                    property                                                                                  however, the
       Detroit, MI 48264-1618                                                                                                                 going concern
       Creditor's mailing address                   Describe the lien
                                                    security interest                                                                         value
                                                    Is the creditor an insider or related party?
       LLGaborik@comerica.com                        No                                                                                      of the collateral is
       Creditor's email address, if known            Yes                                                                                     likely above $10
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No                                                                                      million
       01/19/21                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0026
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



2.2    Diesel Funding                               Describe debtor's property that is subject to a lien                $258,577.50                 Unknown
       Creditor's Name                              may assert security interest, business loan
       1100 NE 163rd St Suite 404
       Miami, FL 33162
       Creditor's mailing address                   Describe the lien
                                                    possible security interest or possible
                                                    purchase of A/R
                                                    Is the creditor an insider or related party?
       admin@dieselfunding.com                       No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number




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Debtor      Ark Laboratory, LLC                                                                   Case number (if known)     23-43403-MLO
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.3   LABarrington                                Describe debtor's property that is subject to a lien                     $82,703.00
                                                                                                                                        unknown
                                                                                                                                              $0.00
      Creditor's Name                             certain equipment
      220 North River Street
      Dundee, IL 60118
      Creditor's mailing address                  Describe the lien
                                                  equipment lien/
                                                  Is the creditor an insider or related party?
                                                  lease
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      8/23/2021                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5000
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.4   Peninsula Capital Partners                  Describe debtor's property that is subject to a lien               $14,940,749.14         Unknown
      Creditor's Name                             loan(s), likely partially secured, all personal                                       however, the
      One Towne Square, Suite                     property
      1400                                                                                                                              going concern value
      Southfield, MI 48076                                                                                                              of the collateral is
      Creditor's mailing address                  Describe the lien
                                                  security interest
                                                                                                                                        likely above $10
      krempel@peninsulafunds.c                    Is the creditor an insider or related party?                                          million
      om                                           No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      01/19/21                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.5   Team Financial Group                        Describe debtor's property that is subject to a lien                 $1,082,936.05        Unknown
      Creditor's Name                             equipment lease(s), may be secured
      650 3 Mile Rd NW #200
      Grand Rapids, MI 49544
      Creditor's mailing address                  Describe the lien
                                                  equipment lien/leases


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Debtor      Ark Laboratory, LLC                                                                   Case number (if known)       23-43403-MLO
            Name

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      from 2018 to 2022                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      various
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.




                                                                                                                           $22,901,531.
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      76

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




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